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                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                       AT WHEELING                                  ELECTRONICALLY
                                                                                        FILED
ROVER PIPELINE LLC,                                                                  Mar 15, 2019
                                                                                  U.S. DISTRICT COURT
                                                                                  Northern District of WV
          Plaintiff,

v.                                                                                    5:19-cv-89 (Stamp)
                                                                    Civil Action No. _________

ROVER TRACT NO(S). WV-MA-ML-066.550 COMPRISED OF TEMPORARY
EASEMENT(S) OVER A PARCEL OF LAND IN UNION DISTRICT, MARSHALL
COUNTY, WEST VIRGINIA, KNOWN AS LOT 4 OF UNRECORDED PLAT OF B.F.
KERBY PROPERTY, AND IDENTIFIED AS PARCEL NO(S). 13 11A000800000000, AS
MORE PARTICULARLY DESCRIBED HEREIN

WILLIAM R. LITTLE
67411 EBBERT SOUTH RD
ST. CLAIRSVILLE, WV 43950

ANY UNKNOWN OWNERS,

          Defendants.

 VERIFIED COMPLAINT FOR CONDEMNATION OF TEMPORARY EASEMENT(S)

          Plaintiff Rover Pipeline LLC (“Rover”), by and through its counsel, files this Verified

Complaint for Condemnation of Temporary Easement(s) (“Verified Complaint”) pursuant to the

Natural Gas Act (“NGA”), 15 U.S.C. § 717f(h), and Federal Rule of Civil Procedure 71.1, and

states as follows:

          1.       This is an action to acquire temporary easement acreage (the “Easements,”

whether one or more) over the above-captioned parcel of land located in Marshall County, West

Virginia (the “Parent Tract”), under the power of eminent domain and to determine just

compensation to be paid to the owners for the Easements pursuant to the NGA, 15 U.S.C. § 717

et seq.        The Easements Rover seeks to acquire are comprised of Temporary Workspace

Easement(s), Temporary Road Access Easement(s), and/or Additional Temporary Workspace
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Easement(s) and are more particularly reflected, identified, described, and depicted on Exhibit A

hereto.

          2.   Rover is a natural gas company as defined by Section 2(a) of the NGA, 15 U.S.C.

§ 717a(6). Rover is a Delaware limited liability company with a principal place of business at

8111 Westchester Drive, Suite 600, Dallas, Texas 75225. It is registered to do business in and is

engaged in business in the states of West Virginia, Pennsylvania, Ohio, Michigan, and within

this federal district. Rover is a company organized for the purpose, among other things, of

transporting natural gas in interstate commerce through pipes and conduits, is an interstate

natural gas company within the meaning of the NGA, 15 U.S.C. § 717a(6), and as such, is

qualified to construct, own, operate, and maintain pipelines for the transmission of natural gas in

interstate commerce.

          3.   The persons and entities who have or claim an interest in the Easements, whose

names have become known or were ascertained by a reasonably diligent search of the records

pursuant to Federal Rule of Civil Procedure 71.1(c)(3), and who have not yet executed an

easement or other agreement with Rover for the Easements sought herein are those identified by

name in the above caption (“Defendants”). There may be others who have or claim an interest in

the Easements and whose names could not be ascertained by a reasonably diligent search of the

records pursuant to Federal Rule of Civil Procedure 71.1(c)(3). These persons and/or entities are

made parties to this action under the designation of “Unknown Owners” pursuant to Federal Rule

of Civil Procedure 71.1(c)(3).

          4.   The authority for the taking is the NGA, 15 U.S.C. § 717a-z.

          5.   Rover is the holder of a Certificate of Public Convenience and Necessity

(“Certificate”) issued on February 2, 2017, by the Federal Energy Regulatory Commission




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(“FERC”), under Docket Nos. CP15-93-000, CP15-93-001, CP15-94-000, and CP15-96-000,

158 FERC ¶ 61,109, a true and correct copy of which is attached hereto as Exhibit B and

incorporated herein, to construct, operate, and maintain an interstate natural gas pipeline system

consisting of approximately 713 miles of new, 24-inch to 42-inch diameter natural gas pipelines

and appurtenant facilities (approximately 510.7 linear miles of pipeline easement and 713 total

miles of pipe therein) with a total system capacity of up to 3.25 billion cubic feet per day (Bcf/d)

of natural gas supply from Marcellus and Utica Shale producers and traversing through

numerous counties in West Virginia, Ohio, Pennsylvania, and Michigan, through

interconnections with existing pipeline infrastructure in Ohio and Michigan to supply interstate

natural gas pipelines and storage facilities as well as markets in the Gulf Coast, Midwest,

Southeast, East Coast, and Canadian regions (the “Rover Project”). The Rover Project represents

an approximate $4.2 billion investment of private funds for public infrastructure under the

NGA. 1

         6.    Rover and the Defendants previously entered into certain Agreements, some of

which are recorded in the Office of the Clerk of the County Commission of Marshall County,

West Virginia. Rover now seeks a twenty-four-month extension of the temporary easement(s)

and/or permit(s) obtained in the Agreements (collectively, the “Temporary Easements and

Permits,” whether one or more), to the extent reflected, identified, described, and depicted in the

plat(s) attached as Exhibit A hereto, and which it is unable to acquire or agree on the price for

the additional twenty-four month term through negotiations with Defendants.

         7.    The Temporary Easements and Permits give Rover certain rights to utilize

portions of the Parent Tract until completion of the initial construction, restoration, and

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          Due to re-routes for which FERC approval was obtained after the Certificate was issued,
modifications to the figures cited in paragraph numbered 5 may have occurred.



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remediation or upon the expiration of twenty-four months from the commencement of

construction in the county in which the Temporary Easements and Permits are located,

whichever occurs first.

        8.      Therefore, Rover seeks to acquire the Easements in order to extend the term of all

Temporary Easements and Permits, to the extent reflected, identified, described, and depicted in

the plat(s) attached as Exhibit A hereto, for an additional twenty-four months to allow Rover to

perform remediation work and stabilize the ground around the pipeline, where necessary, to

ensure its safe and reliable operation.

        9.      The amount of property sought for the Easements, the location of the Easements,

and the intended uses of the Easements are within the scope of the Certificate and are necessary

for the Rover Project.

        10.     To the extent that Temporary Workspace Easement(s) are more particularly

reflected, identified, described, and depicted on Exhibit A hereto, such Easement(s) are

comprised of non-exclusive temporary workspace(s) and additional temporary workspace(s) to

be used by Rover solely for the initial construction of the Pipeline 2 in the permanent pipeline

easement(s) that Rover has acquired or will acquire by agreement or condemnation and for the

restoration and remediation of the land after initial construction, which shall expire upon

completion of the initial construction and restoration and remediation or upon the expiration of

forty-eight months from the commencement of construction in the county in which the

Temporary Workspace Easement(s) is/are located, whichever occurs first. Thereafter, all of

Rover’s privileges and rights on or to use of the Temporary Workspace Easement(s) shall

terminate. No pipeline or permanent facility of any kind or character shall be constructed by


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          As used herein, the term “Pipeline” refers to the interstate natural gas pipeline, not to exceed 42
inches in nominal diameter, to be constructed, operated, and maintained as part of the Rover Project.


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Rover on the Temporary Workspace Easement(s). Rover shall have the right to remove trees,

brush, crops, and other vegetation and obstructions from the Temporary Workspace Easement(s)

while such easements remain in effect.

       11.     To the extent that Temporary Road Access Easement(s) are more particularly

reflected, identified, described, and depicted on Exhibit A hereto, such Easement(s) are

comprised of non-exclusive temporary road access easement(s), which shall endure during the

initial construction of the Pipeline and subsequent restoration only, to be used by Rover solely

for the purpose of ingress and egress to and from public roads and other easements to which

Rover has the right of access to and from the permanent pipeline easements, the temporary

workspace easements and the surface site easements that Rover has acquired or will acquire by

agreement or condemnation.       The Temporary Road Access Easement(s) shall expire upon

completion of the initial construction and restoration or the expiration of forty-eight months from

the commencement of construction in the county in which the Temporary Road Access

Easement(s) is/are located, whichever occurs first. Rover shall not prevent the owner(s) of the

Parent Tract burdened with the Temporary Road Access Easement(s) from utilizing the

roadways within such easement(s).        Before termination of the Temporary Road Access

Easement(s), Rover will restore the roadways located within such easements to the same or

better condition than existed immediately prior to Rover’s use thereof, to the extent reasonably

practicable. Within the Temporary Road Access Easement(s) and while such easements are in

effect, Rover shall have the right to use, repair, improve and/or maintain any existing roads

and/or maintain thereon new roadways. No pipeline or permanent facility of any kind or

character shall be constructed by Rover on the Temporary Road Access Easement(s).




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       12.     To the extent that Additional Temporary Workspace Easement(s) are more

particularly reflected, identified, described, and depicted on Exhibit A hereto, such Easement(s)

are comprised of non-exclusive additional temporary workspace(s) to be used by Rover solely

for the restoration and remediation of the land after initial construction including but not limited

to repair of slips resulting from construction of the Pipeline, which shall expire upon completion

of the restoration and remediation or upon the expiration of forty-eight months from the

commencement of construction in the county in which the Additional Temporary Workspace

Easement(s) is/are located, whichever occurs first. Thereafter, all of Rover’s privileges and rights

on or to use of the Additional Temporary Workspace Easement(s) shall terminate. No pipeline

or permanent facility of any kind or character shall be constructed by Rover on the Temporary

Workspace Easement(s). Rover shall have the right to remove trees, brush, crops, and other

vegetation and obstructions from the Temporary Workspace Easement(s) while such easements

remain in effect. The Additional Temporary Workspace Easement(s) shall include buffers of

approximately 50 feet outside the existing area of the slips to provide for potential further

migration of sediments (if the slip migrates) and to allow for work area to blend the repairs into

the existing natural topography. Rover will not encroach or work beyond the area absolutely

necessary to retrieve the sediments, repair the slip, and restore the area to pre-slip conditions to

the extent practicable. Slip repair will utilize standard pipeline construction equipment, benching

techniques, and other devices such as drain tiles, rip rap, rocked French drains, rocked toe keys,

aerial seeding, etc. on an as needed, site-specific basis. Should geotechnical exploration

determine the repair method requires permanent installation of sheet or soldier piling to retain the

sliding soil, the piles will be kept within the permanent pipeline easement(s) that Rover has

acquired or will acquire by agreement or condemnation unless additional permanent easement




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acreage is required and obtained. If permanent piles are installed they will be cut off no less than

24 inches below final restored grade surface unless it is necessary due to slope and topographic

conditions to leave portions above grade to ensure stability of the repair. It may be necessary due

to the nature of the native material to export and/or import suitable material (soils) to effectively

repair and restore the area. It will be necessary to go off the right-of-way to reasonably restore

the area to pre-construction conditions. Trees will not be cleared beyond those required to allow

for the repair of the slip and retrieval of the sediments. Trees removed may be already downed or

dislodged by the slip, may present safety risks to workers, or may be within the area required for

effective equipment movement associated with the sediment retrieval and slip repair. The

landowner will be compensated by Rover for any tree loss or other property damages caused

during the slip repair and land remediation and restoration. Any effects to the streams will be

repaired and the streams restored to pre-slip conditions to the extent practicable. The slip repair

areas are currently within and extend outside the approved LOD. The off-right-of-way sediments

to be retrieved and the work area buffer are wholly within the original environmental study

corridor. The work areas and the limits of the original study corridor will be clearly marked and

work will not be conducted beyond the limits of the study corridor.

       13.     The right to use the Easements shall belong to Rover and its agents, employees,

designees, contractors, guests, invitees, successors, and assigns, and all those acting by or on

behalf of it for the purposes stated in Exhibit A hereto.          In addition to the rights more

particularly identified, described, and depicted on Exhibit A hereto, Rover seeks the right of

ingress and egress over, across, and through the Easements, while they remain in effect, and to

access the same from other rights-of-way or easements and roads, to which Rover has the right




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of access, for the above-stated purposes and for all other purposes convenient and necessary to

the exercise of the rights granted by the Certificate as applied and enforced by this Court.

       14.     Rover incorporates by reference the Agreements. Besides the twenty-four-month

extension for all Temporary Easements and Permits, to the extent reflected, identified, described,

and depicted in the plat(s) attached as Exhibit A hereto, Rover does not seek to amend or modify

the terms of the Agreements. If there is any conflict between the terms herein and the terms of

the Agreement, Rover requests that the terms of the Agreement shall control, except with respect

to the term of the Temporary Easements and Permits, which shall be governed by this action, and

the size and location of the Easements sought to be condemned, which are accurately reflected,

identified, described, and depicted in the plat(s) attached as Exhibit A hereto.

       15.     To the extent that Defendants’ names and addresses are known, Rover has

attempted, but has been unable, to acquire the necessary easement or other agreements for the

Rover Project through negotiation with the Defendants.

       16.     The compensation demanded or claimed by the Defendants for the Easements

exceeds $3,000.00.

       17.     Jurisdiction for this proceeding in the Court derives from the NGA, particularly

15 U.S.C. § 717f(h), because this is an action to take property under the power of eminent

domain where the amount of compensation claimed by the owners of the property to be

condemned exceeds the sum of $3,000.00.

       18.     Venue is proper in this judicial district pursuant to 15 U.S.C. § 717f(h) because

this is the district court of the federal judicial district where the Easements are located.

       19.     Pursuant to Federal Rule of Civil Procedure 65(c), Rover has deposited or will

deposit into the Court’s registry the amount required by the Court as security for the




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compensation that will ultimately be awarded for the Easements sought, and subject to the

withdrawal by Defendants on terms specified by this Court.

         20.   Rover seeks an order granting it immediate entry upon the Easements that are

more particularly reflected, identified, described, and depicted on Exhibit A hereto.

         21.   Such immediate access and entry is necessary so that Rover can timely comply

with applicable regulations and Rover’s obligations set forth in the Certificate.

         22.   As Rover will post an appropriate bond reflective of the estimate of just

compensation due to the Defendants for the acquisition of the Easements, Defendants will not be

harmed by Rover’s immediate possession of the same, and will benefit from Rover’s timely

remediation efforts.

         WHEREFORE, Rover respectfully prays that this Honorable Court grant judgment in its

favor:

         a.    Condemning the Easements identified herein;

         b.    Granting Rover Injunctive Relief to permit Rover the right of immediate entry and

               access upon the Easements;

         c.    Determining and awarding just compensation for the Easements; and

         d.    Issuing all necessary and/or appropriate orders and decrees, and awarding all

               other general, equitable, and legal relief as the Court deems just and proper.


                                              /s/ Lori A. Dawkins
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